           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                        SOUTHERN DIVISION
United States of America,                     )
                                 Plaintiff,   )
            v.                                )     No. 04-03057-03-CR-S-FJG
Juan H. Gonzalez,                             )
         Defendant.                           )

                                 FINAL ORDER OF FORFEITURE

        On May 2, 2005, this Court entered a Preliminary Order of Forfeiture, ordering

defendant Juan H. Gonzalez to forfeit the following property:

        $17,630.00 in United States currency seized from the defendant on February 14,

2004;

      Approximately $9,700.00 in United States currency seized from the defendant on
March 23, 2004; and

        Approximately $1,226.00 in United States currency seized from the defendant on
April 2, 2004.

        The United States caused to be published in the Springfield News-Leader, a daily

newspaper of general circulation, notice of this forfeiture and of the intent of the United

States to dispose of the property in accordance with the law and as specified in the

Preliminary Order, and further notifying all third parties of their right to petition the Court

within thirty (30) days for a hearing to adjudicate the validity of their alleged legal

interest in the property; and

        No timely claim has been filed.

        The Court finds that defendant Juan H. Gonzalez had an interest in the property

that is subject to forfeiture.

        Therefore, it is hereby ORDERED, ADJUDGED AND DECREED:




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       That the United States currency in the amount of $17,630.00 seized from the

defendant on February 14, 2004;

       Approximately $9,700.00 in United States currency seized from the defendant on

March 23, 2004; and

       Approximately $1,226.00 in United States currency seized from the defendant on

April 2, 2004; is hereby forfeited to the United States of America pursuant to 21 U.S.C. §

853(n).

       IT IS FURTHER ORDERED THAT all right, title and interest to the property

described above is hereby condemned, forfeited and vested in the United States of

America, and shall be disposed of according to law.

       IT IS FURTHER ORDERED THAT the United States District Court shall retain

jurisdiction in the case for the purpose of enforcing this Order.

       IT IS FURTHER ORDERED THAT the Clerk of the Court shall forward three

certified copies of this Order to the United States Attorney’s Office, Attention: Cynthia J.

Hyde, Assistant U.S. Attorney 901 St. Louis, Suite 500, Springfield, MO 65806-2511.

       IT IS SO ORDERED.


                                                 /s/Fernando J. Gaitan, Jr.
                                                 Fernando J. Gaitan, Jr.
                                                 United States District Judge

Dated: October 3, 2005
Kansas City, Missouri




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